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July 14, 2022


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Hon. Magistrate Led D. Wettre, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

Re:    Occidental Chemical Corporation v. 21 st Century Fox America, Inc., et al.
       Civil Action No. 2:18-cv-11273 (MCA-LDW)

Dear Judge Wettre:

This firm represents defendant Croda Inc. (“Croda”) in the above-captioned matter.

Pursuant to L. Civ. R. 101.1(c)(5), we respectfully request Your Honor’s approval of the withdrawal of
Stephen Swedlow as Croda’s pro hac vice counsel. Mr. Swedlow was admitted pro hac vice on behalf of
Croda by this Court’s Order entered at Dkt. No. 539. Croda Inc. will continue to be represented by
its other counsel of record at Quinn Emanuel (including Jaclyn Palmerson, Matthew Robson, and
Athena Dalton) in this action.

If Your Honor approves, we respectfully request that Your Honor so order this letter and have it filed on
the docket.

                                                       Respectfully submitted,

                                                       /s/ Jaclyn Palmerson

                                                       Jaclyn Palmeron
cc: All Counsel of Record (via ECF)


SO ORDERED this ______ day of July, 2022



_____________________________
Hon. Magistrate Leda D. Wettre, U.S.M.J.

          quinn emanuel urquhart & sullivan, llp
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